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                                              #:12774


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             BOARD OF TRUSTEES OF THE UNIVERSITY OF
      15     SOUTHERN CALIFORNIA
      16     [Plaintiffs’ Counsel Listed On Signature Block]
      17
      18                            UNITED STATES DISTRICT COURT
      19             CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
      20
      21     In re University of Southern California    Case No. 2:20-cv-4066-DMG-PVC
             Tuition and Fees COVID-19 Refund
      22     Litigation                                 STIPULATION TO EXTEND HEARING
                                                        AND RULING DATE ON SUMMARY
      23                                                JUDGMENT CROSS-MOTIONS
      24
      25
      26
      27
      28
COOLEY LLP                                                                         STIPULATION TO EXTEND
                                                                                HEARING AND RULING DATE
                                                                          CASE NO. 2:20-CV-4066-DMG-PVC
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        1          Plaintiffs and Defendants University of Southern California and the Board of
        2    Trustees of the University of Southern California (collectively, “Defendants” or
        3    “USC”) (Plaintiffs and Defendants collectively, the “Parties”), by and through their
        4    counsel, stipulate to and respectfully request that the Court extend the current hearing
        5    date for the Parties’ summary judgment cross-motions from March 1, 2024 at 2pm PT
        6    to April 5, 2024 at 2pm PT or as soon thereafter as is convenient for the Court. The
        7    Parties further request that the Court refrain from issuing any rulings until then as well.
        8    This extension is necessary in light of the Court-approved class notice plan and the one-
        9    way intervention rule. In support, the Parties state as follows:
      10           1.     On January 9, 2024, the Parties filed a joint stipulation to extend the
      11     hearing and motion filing deadlines for the Parties’ then-anticipated summary judgment
      12     motions (ECF No. 219), which the Court granted on January 10, 2024 (ECF No. 220).
      13           2.     The deadlines as set forth in the Court’s January 10, 2024 order are as
      14     follows:
      15      Event                                                                Date
      16      Motion Cut-Off (i.e. motion for summary                             1-19-24
              judgment) (filing deadline)
      17
              Last hearing date for dispositive motions                       3-1-24, 2:00 PM
      18      Motions in Limine Filing Deadline                                   3-26-24
              Opposition to Motion in Limine Filing Deadline                       4-2-24
      19
              Pre-Trial Submissions (Proposed Pre-Trial                            4-2-24
      20      Conference Order, Contentions of Fact/Law,
      21      Pretrial Exhibit Stipulation, Joint Exhibit List,
              Witness Lists & Joint Trial Witness Time
      22      Estimate Form, Agreed Statement of the Case,
      23      Proposed Voir Dire Questions, Joint Statement
              of Jury Instructions & Joint Statement of
      24      Disputed Instructions, Verdict Forms)
      25      Final Pre-Trial Conference                                     4-23-24, 2:00 PM
              4 weeks before trial
      26      Trial                                                          5-21-24, 8:30 AM
      27
      28
                                                                                      STIPULATION TO EXTEND
COOLEY LLP
                                                        1                          HEARING AND RULING DATE
                                                                             CASE NO. 2:20-CV-4066-DMG-PVC
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         1         3.     Pursuant to the Court’s Scheduling Order, the Parties filed their cross-
         2   motions for summary judgment on January 19, 2024. (ECF Nos. 221, 224.)
         3         4.     On January 31, 2024, the Court issued an order approving the Parties’ joint
         4   stipulation as to class notice, which sets April 1, 2024 as the exclusion request deadline.
         5   (ECF No. 232.)
         6         5.     Under the one-way intervention rule, the class needs to receive notice and
         7   an opportunity to request exclusion before the Court rules on the Parties’ cross-motions
         8   for summary judgment for the ruling to be binding on the class. See Schwarzschild v.
         9   Tse, 69 F.3d 293, 295 (9th Cir. 1995) (“[D]istrict courts generally do not grant summary
       10    judgment on the merits of a class action until the class has been properly certified and
       11    notified.”); see also Poe v. Nw. Mut. Life Ins. Co., No. 8:21-CV-02065-SPG-E, 2023
       12    WL 4695898, at *3 (C.D. Cal. July 11, 2023) (finding good cause to amend the
       13    scheduling order based on one-way intervention rule, and concluding that “the more
       14    prudent and efficient course of action” was to decide plaintiff’s motion for class
       15    certification before considering plaintiff’s motion for summary judgment).
       16          6.     As such, the Parties agree that an extension of the hearing and ruling date
       17    on the Parties’ cross-motions for summary judgment is necessary and appropriate.
       18    Moreover, this extension will not impact any other briefing or trial-related deadlines.
       19          7.     The Parties stipulate to, and respectfully request the Court grant, an
       20    extension to the hearing and ruling date for the motions for summary judgment as
       21    follows:
       22     Event                                       Current Date             Requested Date
       23     Last hearing date for dispositive          3-1-24, 2:00 PM           4-5-24, 2:00 PM
              motions
       24
              Motions in Limine Filing Deadline              3-26-24                    3-26-24
       25                                                                             (unchanged)
              Opposition to Motion in Limine                  4-2-24                     4-2-24
       26
              Filing Deadline                                                         (unchanged)
       27     Pre-Trial Submissions (Proposed                 4-2-24                     4-2-24
       28     Pre-Trial Conference Order,                                             (unchanged)
COOLEY LLP
                                                                                      STIPULATION TO EXTEND
                                                        2                          HEARING AND RULING DATE
                                                                             CASE NO. 2:20-CV-4066-DMG-PVC
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         1    Contentions of Fact/Law, Pretrial
         2    Exhibit Stipulation, Joint Exhibit
              List, Witness Lists & Joint Trial
         3    Witness Time Estimate Form,
         4    Agreed Statement of the Case,
              Proposed Voir Dire Questions, Joint
         5    Statement of Jury Instructions &
         6    Joint Statement of Disputed
              Instructions, Verdict Forms)
         7    Final Pre-Trial Conference            4-23-24, 2:00 PM           4-23-24, 2:00 PM
         8    4 weeks before trial                                                (unchanged)
              Trial                                 5-21-24, 8:30 AM           5-21-24, 8:30 AM
         9                                                                        (unchanged)
       10
             STIPULATED & AGREED TO:
       11
             Dated: February 20, 2024
       12
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                                                    3                          HEARING AND RULING DATE
                                                                         CASE NO. 2:20-CV-4066-DMG-PVC
        Case 2:20-cv-04066-DMG-PVC   Document 253   Filed 02/20/24    Page 5 of 8 Page ID
                                          #:12778


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                                                4                          HEARING AND RULING DATE
                                                                     CASE NO. 2:20-CV-4066-DMG-PVC
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                                                5                          HEARING AND RULING DATE
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         7                                        the Proposed Class
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         8                                        /s/Leo P. Norton____________________
                                                  Leo P. Norton
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       24                                         Southern California
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                                                                                 STIPULATION TO EXTEND
                                                   6                          HEARING AND RULING DATE
                                                                        CASE NO. 2:20-CV-4066-DMG-PVC
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         1                                FILER ATTESTATION
         2         I, Leo P. Norton, attest that concurrence in the filing of this document has been
         3   obtained from the other signatories. Executed on February 20, 2024, in Oceanside,
         4   California.
         5                                           /s/Leo P. Norton
                                                     Leo P. Norton
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COOLEY LLP
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